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                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                         FORT LAUDERDALE DIVISION

In Re:

JACK TAWIL,                                                                            CASE NO. 15-17874-BKC-JKO
                                                                                       CHAPTER 7
     Debtor.
___________________________________/

BONETA, INC and ERIK BONETA,

          Plaintiffs,                                                                  ADV. CASE NO. 15-01719-JKO

vs.

JACK TAWIL,

     Defendant.
___________________________________/

                                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the AGREED FINAL JUDGMENT [ECF

6] was served electronically where available or by regular mail to all parties listed on the

service list attached on the 20th day of January, 2016.

          I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida and I am in
compliance with the additional qualification to practice in this court set forth in Local Rule 2090-1(A).


                                                      RAPPAPORT OSBORNE RAPPAPORT & KIEM, PL
                                                      Attorneys for Plaintiffs
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                                                      1300 North Federal Highway
                                                      Boca Raton, Florida 33432
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                                                      BY:      /s/
                                                            LESLIE OSBORNE, ESQ
                                                            Florida Bar No. 082319
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SERVICE LIST:

Via U.S. Mail:

Jack Tawil
1095 West Lake Street
Hollywood, FL 33019
